826 F.2d 1065
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Major Roosevelt POLK, Plaintiff-Appellant,v.COBB COUNTY SHERIFF'S DEPARTMENT, Defendant-Appellee.
    No. 87-5438
    United States Court of Appeals, Sixth Circuit.
    August 25, 1987.
    
      ORDER
      Before MILBURN and RYAN, Circuit Judges, and CEORGE CLIFTON EDWARDS, Jr., Senior Circuit Judge.
    
    
      1
      Appellant has failed to respond to this court's May 1, 1987, order directing him to show cause within 21 days why his appeal should not be dismissed for lack of jurisdiction.
    
    
      2
      It appears from the record that the final order was entered January 2, 1987.  The notice of appeal filed on April 14, 1987, was 71 days late.  Rules 4(a) and 26(a), Federal Rules of Appellate Procedure.
    
    
      3
      The failure of an appellant to timely file a notice of appeal deprives an appellate court of jurisdiction.  Compliance with Rule 4(a), Federal Rules of Appellate Procedure, is a mandatory and jurisdictional prerequisite which this court can neither waive nor extend.  Peake v. First Nat'l Bank &amp; Trust Co., 717 F.2d 1016 (6th Cir. 1983).  Rule 26(b), Federal Rules of Appellate Procedure, specifically provides that this court cannot enlarge the time for filing a notice of appeal.
    
    
      4
      Accordingly, it is ORDERED that the appeal be and hereby is dismissed for lack of jurisdiction.  Rule 9(b)(1), Rules of the Sixth Circuit.
    
    